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EXHIBIT
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FILED =.
STATE OF ILLINOIS BOONE COUNTY ILLINOIS
IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT .
COUNTY OF BOONE JUL 2D" 2021
PEOPLE OF THE STATE OF ILLINOIS, ) tee ei Gales
PLAINTIFF, ) :
VS. ) NO. 2021CM81
RICHARD A, WIGGINTON, ) :
DOB: 06/29/1971 )
DEFENDANT )

INFORMATION
The State’s Attomey of said County charges:

COUNT i

That on or about the 18th day of May, 2021, in the County of Boone, State of
IWinois, Richard A. Wigginton committed the offense of RESISTING A PEACE
OFFICER in that the said defendant knowing Officer KC. Brox fo be a peace officer
engaged in an authorized act within her official duties, being the arrest of the defendant,
pulled away from Officer Brox, in violation of Chapter 720, Act 5, Section 31-1 (a) of
the IMinois Compiied Statutes. (CLASS A MISDEMEANOR)

COUNT 2

That on or about the 18th day of May, 2021, in the County of Boone, State of
Iinois, Richard A. Wigginton committed the offense of RESISTING A PRACE
OFFICER in that the said defendant knowing Officer Zachary Reese to be a peace officer
engaged in an authorized act within his official duties, being the arrest of the defendant,
pulled away from Officer Reese, in violation of Chapter 720, Act §, Section 31-1 (a) of
the Iinais Compiled Statutes. (CLASS A MISDEMEANOR)

COUNT-3

That on or about the 18th day of May, 2021, in the County of Boone, State of
Illinois, Richard A. Wigginton committed the offense of RESISTING A PEACE
OFFICER in that the said defendant knowing Officer K.C. Brox to be a peace officer
engaged in an authorized act within her official duties, being the arrest of the defendant,
tensed his arms into a straight position when told to place his hands behind his back, in
violation of Chapter 720, Act 5, Section 31-1 (2) of the Minois Compiled Statutes.
(CLASS A MISDEMEANOR)
Case: 3:22-cv-50440 Document #: 1-2 Filed: 12/21/22 Page 3 of 9 PagelD #:18

COPY

COUNT 4

 

That on or about the 18th day of May, 2021, in the County of Boone, State of
Illinois, Richard A. Wigginton committed the offense of CRIMINAL TRESPASS TO
REAL PROPERTY in that the said defendant knowingly remained within the Post Office
building at 1800 Doc Wolf Drive, Belvidere, IL, after being told by employee Stephanic
Johnson to leave the building, in violation of Chapter 720, Act 5, Section 21-3(a)(1) of
the Illinois Compiled Statutes. (CLASS B MISDEMEANOR) —

COUNTS

That on or about the 18th day of May, 2021, in the County of Boone, State of
Illinois, Richard A. Wigginton committed the offense of CRIMINAL TRESPASS TO
REAL PROPERTY in that the said defendant knowingly remained on the land of the Post
Office at 1800 Doc Wolf Drive, Belvidere, IL, after being told by Officer K.C. Brox, acting
at the direction of a postal employee Kaila Osbome, to leave the land, in violation of
Chapter 720, Act 5, Section 21-3(a)(3) of the Illinois Compiled Statutes. (CLASS B
MISDEMEANOR)

COUNT 6

That on or about the 18th day of May, 2021, in the County of Boone, State of
Iinois, Richard A. Wigginton committed the offense of DISORDERLY CONDUCT in
that said defendant knowingly acted in such an unreasonable manner as to alarm and
disturb postal employee Stephanie Johnson and to provoke a breach of the peace in that
said defendant continued to video record employses and patrons of the Post Office after
being told to stop recording by Stephanie Johnson, in violation of Chapter 720, Act 5,
Section 5/26-1{a)(1}. (CLASS C MISDEMEANOR)

COUNE7

That on or about the 18th day of May, 2021, in the County of Boone, State of
Illinois, Richard A. Wigginton committed the offense of DISORDERLY CONDUCT in
that said defendant knowingly acted in such an/unreasonable manner as to alarm and
disturb postal employee Stephanie Johnsox and.to provoke a breach of the peace in that °
said defendant acted in a threatening manner and said to Stephanie Johnson, “You want fo
get educated today?” after being told by Stephanie Johnson that she was calling the police,
in violation of Chapter 720, Act 5, Section 5/26-1{a)(1). (CLASS C MISDEMEANOR)
Case: 3:22-cv-50440 Document #: 1-2 Filed: 12/21/22 Page 4 of 9 PagelD #:19

COPY
COUNT §

That on or about the 18th day of May, 2021, in the County of Boone, State of
illinois, Richard A. Wigginton committed the offense of DISORDERLY CONDUCT in
that said defendant knowingly acted in such an unreasonable manner as fo alarm and
disturb postal employees and to provoke a breach of the peace in that said defendant, after
being told to leave, followed and approached employees and disrupted their interactions
with patrons at the Post Office, in violation of Chapter 720, Act 5, Section 5/26-1(a){1).

(CLASS C MISDEMEANOR)
3 2 Le KD

Robin Babcox-Poole
Assistant State’s Attomey

STATE OF ILLINOIS )
COUNTY GF BOONE } ss. The undersigned, on oath says that the facts

set forth in the foregoing Information are true in
Sworn to before me this

ei day of ue 2021

  
   

Notary Publi
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Case: 3:22-cv-50440 Document #: 1-2 Filed: 12/21/22 Page 5 of 9 PagelD #:20

State of Ulinois
IN THE CURCUIT COURT OF THE 177" JUDICIAL CIRCUIT
County ef Boone

THE PEOPLE OF THE STATE OF ILLINOIS

Vs.
Richard A. Wigginton no, DACMS |
Defendant
06/29/1971
Date of Birth
M WwW 5-6 160 Report#: 202100009949
Sex Race Ht. We. F] LE
549 Prairie Pot Drive BOONE C D
Street Address OUNTY ILLINOIS
MAY I &§
Poplar Grove, IL 61065 . # 202i
City, State Zip Hime L ey loser (SS
CLERK GE THE CleetT An
CRIMINAL COMPLAINT © CIRCUIT COURT
Count One

Complainant Officer Brox on oath charges: That on the 18th day of May, 2021, in the County of Boone,

Resisting a Peace Officer

in that the said defendant: Richard A. Wigeinton; knowingly resisted Officer Brox when she attempted
to take the defendant into custody by tensing his arms and refusing to place them behind his back.

In violation of Section 31-1{a) of ACT 5 of CHAPTER 726 of the [linois Compiled Statutes.

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Case: 3:22-cv-
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Conmt Ewe

Complainant Officer Brox on oath charges: That on the 12 day of May, 2921, in the County of Boone,
State of tinois, Richard A. Wigginton committed the offense at

Criminal Trespass to Real Prope erty

in that the said defendant: Richard A. Wigginton. knowingly yemained on the property, 1860 Doc Wolf
Drive Belviders, IL, The Post Office, after receiving : notice from Police and Postal employees to depart.

In violation of Section 23-3(ay) af ACTS af CHAPTER 726 of the Wimei ig Compiled Siatuies
Count PRree

Complainant Officer Brox on oath charges: That on the 18th day of May, 4 2071, in the County of Boone,
State of flinais, Richard A. Wigginton committed the offense of

Wiserderty Conauck

Tn that the said defendant Richard A. Wigeiton acted ip an unreasonable manner causing alarm and
disturbing the employees of the Post Ofiicer er Located 1800 Doc Wolf Tr, Belvidere, 1 61008,
provolcng the breach of peace by refusing to wear a mask, recordiag postal arnployecs, refusing to leave
when asked by employees.

im vinlation of Section 26 iad) of ACE Se of CHAPTER 726 of the Winels Complied Statues.
Ve FD Lae
fo Ar tg Me fis
yf ie et OA

Cc ‘Aranisinail

615 6, Main st. 815/544-9626
vest Address ” Phone #

Belvidere, lnois 61008 __
City, State Zip
Page 2 of 3
 

 

Case: 3:22-cv-
cv-50440 Document #: 1-2 Filed: 12/21/22 Page 7 of 9 PagelD #:22

SWORN TO before me this

ik dayof May, 2021.

 

Faby 15" 2024 ot B30 fll

Appearance Dats and Time

Boone County Court Howse.

Appearance Location

evidence thereon, and I ari 68
complaint. Warrant issued,

SBRVICE 4

MILEAGE $%

have examined the above ‘formation and the person under 0

atigtied there is probable cause for

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i i it was committed:
Explain how crime was disco ano OS the

Case: 3:22-cv-50440 Document #: 1-2 Filed: 12/21/22 Page 8 of 9 PagelD #:23

PROBABLE CAUSE AFFIDAVIT Q\cMFl

ich i without @ warrant.
eeQOflicess scust fill out a Probebte Cause Affidavit in any case which is the result of an arrest

pable cause, Defendant to be released from custody, and served with a Notice to Appear.
___._ No pro e

 

 

 

vate: __- (JUDGE'S SIGNATURE)
oc #:202000009945* FIL
Defendant's Name: |\WIGGINTON, RICHARD AIR t “sort COUNTY ILLINOIS
OFFICER,
Charge: {CRIMINAL TRESPASS, RESISTING A PEACE MAY 19 2028
Arrest Date: [May 18, 2023] Time of Arrest 158 a9. ans OS

CLERK OF THE CIRCUIT COURT
«x Jf officer saw incident:

     
   

ton 05/19/2021 at 1153 b 1 Officer Brox

ty Officers to take him to the:

Explain how the Defendant was identified as the perpetrator of the crime alleged (include names of
i .
persons making jdentification):

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PROBABLE CAUSE AFFIDAVIT

THE DEFENDANT IDENTIRGED HIMSELF VERBALLY AS RICHARD A, WIGGINTON,
B O6/29/2071, |

Under penalfies as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
undersigned certifies that the statements set forth in this instrument are tue and correct, except as fo
matters therein stated to be on information and belief and as to guch matters the undersigned certifies as
aforesaid that he or she verily believes the sameto be true.

(AS

Alh—-<

ikiphn’s SIGNATURE)

   
 
 

   
 

 

pate: . '

 

 

wey the offense is one of the following listed below; the Addendum to Probable Cause Affidavit MUST
BE COMPLETED. **

OFFENSES: -Violation of an O.P. - Domestic Battery ~ Ag, ravated Domestic Battery - Kidnapping -

Aggravated Kidnapping - Unlawful Restraint - A ggravated Unlawful Restraint — Stalking - Aggravated Stalking —
Cyberstalldug ~ Harassment by Telephone - Harassment Through Electronic Communications - or an attempt to
commit first degree murder committed against an intimate partner regardless whether an O.P. has been issued
against the person.

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